
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Defendants (The News and Observer Publishing Company, McClatchy Newspapers, Inc. and Mandy Locke) on the 22nd of June 2015 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Dismissed Ex Mero Motu by order of the Court in conference, this the 20th of August 2015."
Upon consideration of the petition filed on the 22nd of June 2015 by Defendants (The News and Observer Publishing Company, McClatchy Newspaper, Inc. and Mandy Locke) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 20th of August 2015."
